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PROB 12C
ED/AR (08/2022)
                                                                                              FILED
                                                                                            U.S. DISTRICT COURT
                                                                                       e:ASTERN DISTRICi ARKANSAS
                                            United States District Court
                                                                                             JAN ~ 9 2024
                                                          for the
                                                                                      B : ~ H ~ S , CLERK
                                               Eastern District of Arkansas            y             DEPCLERK


                                            SUPERSEDING PETITION
                                 (Replacing previously filed petition, Docket Entry 7)

 Name of Offender:          Brett Maddox                                 Case Number:     4:23CR00171-DPM -1
 Name of Sentencing Judicial Officer:          Honorable Jimm Larry_Hendren
                                               United States District Judge
                                               (Western District of Arkansas)

 Name of Reassigned Judicial Officer:          Honorable D.P. Marshall, Jr.
                                               Chief United States District Judge .
                                               (Jurisdiction accepted June 5, 2023)

  Original Offense:         Felon in Possession of a Firearm
 Date of Sentence:          May 13, 2013
 Original Sentence:         96 months Bureau of Prisons followed by 36 months supervised release
 Type of                                                Date Supervision Commenced:       June 6, 2022
 Supervision:        Supervised Release                 Date Sup~rvision Expires:         June 5, 2025
 U. S. Probation                           Asst. U.S.                           Defense
 Officer: Victoria Fitzhugh                Attorney:    Amanda Jegley           Attorney:   Lawrence Anthony
                                                                                            Walker

                                              PETITIONING THE COURT

□            To issue a Warrant, deny the Petition (Docket Entry 7) as moot, and Seal this Petition Pending
             Execution (cc: U.S. Probation and U.S. Marshal only)
             To deny the Petition (Docket Entry 7) as moot and Supersede with this Petition to be Filed ~Jnder Seal
             To issue a Summons and deny the Petition (Docket Entry 7) as moot                           \
             To deny the Petition (Docket Entry 7) as moot and Supersede with this Petition

T~e probation officer believes that the offender has violated the following condition(s) of supervision:

  Violation           Condition
  Number             and Number       Nature of Noncompliance
         1         Mandatory (2)      The defendant shall not commit another federal, state, or local crime; the
                                      defendant shall be prohibited from possessing a firearm or other       •
                                      dangerous device; and the defendant shall not use, possess or have
                                      anything at all to do with any controlled substance.
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Prob 12C                                                -2-                                    Superseding Petition


Name of Offender: Brett Maddox                                               Case Number: 4:23CR00171-DPM-1


                                  On June 1, 2023, Brett Maddox violated his conditions of superv}sed release
                                  when he struck his wife in the facial area, as evidenced by his arrest for
                                  Domestic Battery 3rd Degree, as documented by North Little Rocle Police
                                  Department arrest/disposition report. On June 6, 2023, Mr. Maddox appeared in
                                  the North Little Rock.District Court on Case number NLCRC-23 11205, and he
                                  pled guilty to Domestic Battery 3 rd Degree. He was sentenced as follows: $500
                                  fine, one (1) year probation, no contact with victim, and mental health
                                  treatment.

                                   On July 17, 2023, Brett Maddox violated his conditions of supervised release
                                   when he threatened to stab and kill his wife, refused to let her out of a locked
                                   vehicle, attempted to stab her in the upper torso, and stabbed her in the shin, as
                                 • evidenced by his charges of Aggravated Assault on Family/Household Member
                                 -(felony), Domestic Battery 2nd (felony), Terroristic Threats (felony), and False
                                   Imprisonment 1st (felony), as documented by Springdale Police Department
                                   report 2023-00046196. This case is pending in the Benton County Circuit
                                   Court, case number 04CR~23-2430.

                                  On July 22, 2023, Brett Maddox violated his conditions of superv~sed release
                                  when he was found in possession of a stolen vehicle, as evidenced by his arrest
                                  for Theft by Receiving, as documented in Fort Smith Police Department report
                                  number 230051173-00. This case is pending in the Sebastian Coutity Circuit
                                  Court, case number 66FCR-23-798.

     2         Standard (7)       The defendant shall refrain from the excessive use of alcohol and shall not
                                  purchase, possess, use, distribute, or administer any controlle1 substance
                                  or any paraphernalia related to any controlled substances, except as
                                  prescribed by a physician.
                                  On March 1, 2023, Brett Maddox violated his conditions of release when he
                                  submitted a urine specimen which tested and confirmed positive for the use of
                                  amphetamine, methamphetamine and marijuana. Furthermore, on ~arch 1,
                                  2023, Brett Maddox admitted to the use of methamphetamine and marijuana on
                                  or about February 27, 2023.

I declare under penalty of perjury that the                      The U.S. Attorney's Office submits this petition
foregoing is true and correct.                                   to be filed with Criminal Docketing as a motion.

         V0i~ 1-J61,w}._,
 Victoria Fitzhugh                                                Am
                                                                   ~
 U.S. Probation Officer                                           Assistant U.S. Attorney

 Executed on    December 13, 2023                                 Executed on        I/t/ /1,~
                                                                                - ~ -+, - - - - - - - ~ -
                  Case 4:23-cr-00171-DPM Document 14 Filed 01/09/24 Page 3 of 3
 Prob 12C                                             -3-                                  Superseding Petition


Name of Offender: Brett Maddox                                            Case Number: 4:23CR00171-DPM-1


Approved by:
• //                    //         C
   ~,&~
  Jason B. Stewart
• Supervising U.S. Probation Officer




THE COURT ORDERS that this document be filed Q under seai$'as a public document, and
D    a Warrant be issued, Petition (Docket Entry 7) is denied as moot, and directing this Petitio~ be
     Sealed Pending Execution (cc: U.S. Probation and U.S. Marshal only).
D    a Summons be is.sued, and Petition (Docket Entry 7) is denied as moot.
}[   the Pet~tion (Docket Entry 7) is denied as moot and is Superseded by this Petition.
0    Other:




  Honorable D.P. Marshall, 1r.
  ChiefUnited States District Judge
